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            In the United States Court of Federal Claims
                                           No. 13-1025C
                                      (Filed: January 3, 2014)

*************************************
JANIE WEEKS,                        *
                                    *
                  Plaintiff,        *
                                    *
 v.                                 *
                                    *
THE UNITED STATES,                  *
                                    *
                  Defendant.        *
*************************************

                                              ORDER

        On December 30, 2013, plaintiff in the above-captioned case filed a complaint in which
she named as defendants the United States and the Housing Authority of the City of Opp,
Alabama. However, it is well settled that the United States is the only proper defendant in the
United States Court of Federal Claims (“Court of Federal Claims”). See 28 U.S.C. § 1491(a)(1)
(providing that the Court of Federal Claims has jurisdiction over claims against the United
States); R. U.S. Ct. Fed. Cl. 10(a) (requiring that the United States be designated as the defendant
in the Court of Federal Claims); Stephenson v. United States, 58 Fed. Cl. 186, 190 (2003)
(“[T]he only proper defendant for any matter before this court is the United States . . . .”).
Indeed, the jurisdiction of the Court of Federal Claims “is confined to the rendition of money
judgments in suits brought for that relief against the United States, . . . and if the relief sought is
against others than the United States, the suit as to them must be ignored as beyond the
jurisdiction of the court.” United States v. Sherwood, 312 U.S. 584, 588 (1941); see also Moore
v. Pub. Defenders Office, 76 Fed. Cl. 617, 620 (2007) (“When a plaintiff’s complaint names
private parties, or local, county, or state agencies, rather than federal agencies, this court has no
jurisdiction to hear those allegations.”). Accordingly, the court DISMISSES plaintiff’s claims
against the Housing Authority of the City of Opp, Alabama.1

       IT IS SO ORDERED.
                                                       s/ Margaret M. Sweeney
                                                       MARGARET M. SWEENEY
                                                       Judge


       1
          The court’s dismissal of the housing authority as a defendant does not preclude the
housing authority from subsequently appearing as an interested party pursuant to Rule 14 of the
Rules of the United States Court of Federal Claims, if the circumstances so warrant.
